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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION

 HONEYFUND.COM, INC.,
 CHEVARA ORRIN, and
 WHITESPACE CONSULTING,                      Case No. 4:22-cv-227
 LLC D/B/A COLLECTIVE
 CONCEPTS, LLC,                              JURY TRIAL DEMANDED

       Plaintiffs,

       v.

 RON DESANTIS, in his official
 capacity as Governor of Florida;
 ASHLEY MOODY, in her official
 capacity as Attorney General of
 Florida, DARRICK MCGHEE, in his
 official capacity as the Chair of the
 Florida Commission on Human
 Relations, et al.

       Defendants.




                     NOTICE OF A PRIOR OR SIMILAR CASE

      The undersigned give notice that the present case “involves issues of fact or

law in common with the issues in another case pending in the District.” N.D. Fla.

Loc. R. 5.6(B). On April 22, 2022, Donald Falls et al. filed a complaint for

declaratory and injunctive relief against Ron DeSantis, in his official capacity as

Governor of the State of Florida, and his agents. Falls, et al. v. DeSantis, et al.,
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No. 4:22-cv-01166 (N.D. Fla. Apr. 22, 2022). The present case involves issues of

fact or law in common with the issues in Falls v. DeSantis.



Dated: June 22, 2022               Respectfully submitted,

                                   By: /s/ Shalini Goel Agarwal

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                             CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing has been

furnished to the following parties via electronic mail;

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           General, mwold@cooperkirk.com,
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                                            /s/ Shalini Goel Agarwal
                                               Shalini Goel Agarwal
